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 6

 7

 8

 9                         UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA
11

12

13      Ashlie Brickman a/k/a Miriam
        Marauders,
14                                                     Case No:
15                             Plaintiff,
                                                       COMPLAINT
16              v.
                                                       DEMAND FOR JURY TRIAL
17
        Breitbart News Network, LLC,
18
19                             Defendant.
20
           Plaintiff Ashlie Brickman a/k/a Miriam Marauders (“Plaintiff”), by and
21
     through its undersigned counsel, for its Complaint against defendant Breitbart
22
     News Network, LLC (“Defendant”) states and alleges as follows:
23
                                       INTRODUCTION
24
           1.        This action seeks to recover damages for copyright infringement.
25
           2.        Plaintiff herein creates photographic images and owns the rights to
26
     these images which Plaintiff licenses for various uses including online and print
27

28

                                                       1
                                            PLAINTIFF'S COMPLAINT
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 1
     publications.
 2
           3.     Defendant     owns     and     operates    a   website     known     as
 3
     www.breitbart.com (the “Website”).
 4
           4.     Defendant, without permission or authorization from Plaintiff
 5
     actively copied, stored, and/or displayed Plaintiff's Photographs on the Website
 6
     and engaged in this misconduct knowingly and in violation of the United States
 7
     copyright laws.
 8
                                         PARTIES
 9
           5.     Plaintiff Ashlie Brickman a/k/a Miriam Marauders is an individual
10
     who is a citizen of the State of Oregon and maintains a principal place of business
11
     at 1310 NW 24th Ave, Portland in Multnomah County, Oregon.
12
           6.     Upon information and belief, Defendant Breitbart News Network,
13
     LLC, is Delaware corporation with a principal place of business at 149 S
14
     Barrington Avenue, Suite 735, Los Angeles in Los Angeles County, California
15
     and is liable and responsible to Plaintiff based on the facts herein alleged.
16
                              JURISDICTION AND VENUE
17
           7.     This Court has subject matter jurisdiction over the federal copyright
18
     infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
19
           8.     This Court has personal jurisdiction over Breitbart News Network,
20
     LLC because it maintains its principal place of business in California.
21
           9.     Venue is proper under 28 U.S.C. §1391(a)(2) because Breitbart
22
     News Network, LLC does business in this Judicial District and/or because a
23
     substantial part of the events or omissions giving rise to the claim occurred in this
24
     Judicial District.
25
                          FACTS COMMON TO ALL CLAIMS
26
           10.    Plaintiff is a professional photographer by trade who is the legal and
27
     rightful owners of photographs which Plaintiff licenses to online and print
28

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                                       PLAINTIFF'S COMPLAINT
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 1
     publications.
 2
            11.   Plaintiff has invested significant time and money in building
 3
     Plaintiff’s photograph portfolio.
 4
            12.   Plaintiff has obtained active and valid copyright registrations from
 5
     the United States Copyright Office (the “USCO”) which cover many of Plaintiff’s
 6
     photographs while many others are the subject of pending copyright applications.
 7
            13.   Plaintiff’s photographs are original, creative works in which
 8
     Plaintiff’s own protectable copyright interests.
 9
            14.   Breitbart News Network, LLC is the registered owner of the Website
10
     and is responsible for its content.
11
            15.   Breitbart News Network, LLC is the operator of the Website and
12
     responsible for its content.
13
            16.   The Website is a popular and lucrative commercial enterprise.
14
            17.   The Website is monetized in that it contains paid advertisements and,
15
     upon information and belief, Defendant profits from these activities.
16
            18.   The Website is monetized in that it sells merchandise to the public
17
     and, upon information and belief, Defendant profits from these activities.
18
            19.   On December 2, 2018, Plaintiff Ashlie Brickman a/k/a Miriam
19
     Marauders authored a photograph of William Von Spronsen, an individual killed
20
     while attempting to assault a federal facility in 2019 (“Photograph 1”). A copy of
21
     the Photograph is attached hereto collectively as Exhibit 1 (Exhibit 1-Photograph
22
     #1).
23
            20.   Plaintiff applied to the USCO to register Photograph 1 on or about
24
     August 1, 2019 under Application No. 1-7936555916.
25
            21.   Photograph 1 was registered by the USCO on August 1, 2019 under
26
     Registration No. VA 2-163-238.
27
            22.   On July 31, 3019, Plaintiff observed Photograph 1 on the Website in
28

                                                      3
                                           PLAINTIFF'S COMPLAINT
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 1
     a story dated July 19, 2019. A copy of the screengrab of the Website including
 2
     Photograph 1 is attached hereto as Exhibit 2.
 3
           23.   Photograph         1         was       displayed     at        URL:
 4
     https://www.breitbart.com/politics/2019/07/19/tacoma-police-immigration-
 5
     center-firebomber-claimed-antifa-member-antifa-gun-club/       (Exhibit      2-
 6
     Infringement #1).
 7
           24.   Photograph          1         was         stored    at         URL:
 8
     https://media.breitbart.com/media/2019/07/Willem-Van-Spronsen-640x480.png.
 9
           25.   On May 5, 2019, Plaintiff Ashlie Brickman a/k/a Miriam Marauders
10
     authored a second photograph of William Von Sprosen (“Photograph 2”). A copy
11
     of the Photograph is attached hereto collectively as Exhibit 1 (Exhibit 1-
12
     Photograph #2).
13
           26.   Plaintiff applied to the USCO to register Photograph 2 on or about
14
     August 1, 2019 under Application No. 1-7936555628.
15
           27.   Photograph 2 was registered by the USCO on August 1, 2019 under
16
     Registration No. VA 2-164-944.
17
           28.   On July 31, 2019, Plaintiff observed Photograph 2 on the Website in
18
     a story dated July 15, 2019. A copy of the screengrab of the Website including
19
     Photograph 2 is attached hereto as Exhibit 2.
20
           29.   Photograph         2         was       displayed     at        URL:
21
     https://www.breitbart.com/politics/2019/07/15/antifa-attacker-of-tacoma-
22
     detention-facility-left-manifesto-on-concentration-camps/#     (Exhibit      2-
23
     Infringement #2).
24
           30.   Photograph          2         was         stored    at         URL:
25
     https://media.breitbart.com/media/2019/07/Willem-Van-Spronsen-1-
26
     640x480.png.
27
           31.   Without permission or authorization from Plaintiff, Defendant
28

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                                        PLAINTIFF'S COMPLAINT
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 1
     volitionally selected, copied, stored and/or displayed Plaintiff’s copyright
 2
     protected Photographs as are set forth in Exhibit “1” on the Website.
 3
           32.    Upon information and belief, Photograph 1 and Photograph 2
 4
     (hereinafter collectively “Photographs”) were copied, stored and displayed
 5
     without license or permission, thereby infringing on Plaintiff’s copyrights
 6
     (hereinafter singularly the “Infringement” and collectively the “Infringements”).
 7
           33.    Each Infringement includes a URL (“Uniform Resource Locator”)
 8
     for fixed tangible medium of expression that was sufficiently permanent or stable
 9
     to permit it to be communicated for a period of more than a transitory duration
10
     and therefore constitute a specific infringement. 17 U.S.C. §106(5); Perfect 10,
11
     Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
12
           34.    The Infringements are both copies of Plaintiff's original images that
13
     were directly copied and stored by Defendant on the Website.
14
           35.    Upon information and belief, Defendant takes an active and
15
     pervasive role in the content posted on its Website, including, but not limited to
16
     copying, posting, selecting, commenting on and/or displaying images including
17
     but not limited to Plaintiff's Photographs.
18
           36.    Upon information and belief, Defendant directly contributes to the
19
     content posted on the Website by, inter alia, directly employing reporters, authors
20
     and editors as its agents, including but not limited to Kristina Wong whereby
21
     Defendant’s Website lists her as an “Author” and whose own social media profiles
22
     describe Wong as a national security and political correspondent for Defendant’s
23
     publication (“Employees”).
24
           37.    Upon information and belief, at all material times the Employees
25
     were acting within the course and scope of their employment when they posted
26
     the Infringements.
27
           38.    Upon information and belief, at all material times the Employees
28

                                                  5
                                       PLAINTIFF'S COMPLAINT
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 1
     were acting within the course and scope of their agency when they posted the
 2
     Infringements.
 3
             39.   Upon information and belief, the Photographs were willfully and
 4
     volitionally posted to the Website by Defendant.
 5
             40.   Upon information and belief, Defendant is not registered with the
 6
     United States Copyright Office pursuant to 17 U.S.C. §512.
 7
             41.   Upon information and belief, the Infringements were not posted at
 8
     the direction of a “user” as that term is defined in 17 U.S.C. §512(c).
 9
             42.   Upon information and belief, Defendant engaged in the
10
     Infringements knowingly and in violation of applicable United States Copyright
11
     Laws.
12
             43.   Upon information and belief, Defendant had complete control over
13
     and actively reviewed and monitored the content posted on the Website.
14
             44.   Upon information and belief, Defendant has the legal right and
15
     ability to control and limit the infringing activities on its Website and exercised
16
     and/or had the right and ability to exercise such right.
17
             45.   Upon information and belief, Defendant monitors the content on its
18
     Website.
19
             46.   Upon information and belief, Defendant has received a financial
20
     benefit directly attributable to the Infringement.
21
             47.   Upon information and belief, the Infringements increased traffic to
22
     the Website and, in turn, caused Defendant to realize an increase in its advertising
23
     revenues and/or merchandise sales.
24
             48.   Upon information and belief, a large number of people have viewed
25
     the unlawful copies of the Photographs on the Website.
26
             49.   Upon information and belief, Defendant at all times had the ability
27
     to stop the reproduction and display of Plaintiff's copyrighted material.
28

                                                  6
                                       PLAINTIFF'S COMPLAINT
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 1
           50.    Defendant's use of the Photographs, if widespread, would harm
 2
     Plaintiff's potential market for the Photographs.
 3
           51.    As a result of Defendant's misconduct, Plaintiff has been
 4
     substantially harmed.
 5
                                    FIRST COUNT
 6               (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
 7         52.    Plaintiff repeats and incorporates by reference the allegations
 8   contained in the preceding paragraphs, as though set forth in full herein.
 9         53.    The Photographs are original, creative works in which Plaintiff owns
10   valid copyright properly registered with the United States Copyright Office.
11         54.    Plaintiff has not licensed Defendant the right to use the Photographs
12   in any manner, nor has Plaintiff assigned any of their exclusive rights in the
13   copyrights to Defendant.
14         55.    Without permission or authorization from Plaintiff and in willful
15   violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
16   illegally copied, stored, reproduced, distributed, adapted, and/or publicly
17   displayed works copyrighted by Plaintiff thereby violating one of Plaintiff's
18   exclusive rights in its copyrights.
19         56.    Defendant's reproduction of the Photographs and display of the
20   Photographs constitutes willful copyright infringement. Feist Publications, Inc. v.
21   Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
22         57.    Plaintiff is informed and believes and thereon alleges that the
23   Defendant willfully infringed upon Plaintiff's copyrighted Photographs in
24   violation of Title 17 of the U.S. Code, in that they used, published, communicated,
25   posted, publicized, and otherwise held out to the public for commercial benefit,
26   the original and unique Photographs of the Plaintiff without Plaintiff's consent or
27   authority, by using them in the infringing articles on the Website.
28

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                                           PLAINTIFF'S COMPLAINT
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 1
           58.    As a result of Defendant's violations of Title 17 of the U.S. Code,
 2
     Plaintiff is entitled to an award of actual damages and disgorgement of all of
 3
     Defendant's profits attributable to the infringements as provided by 17 U.S.C. §
 4
     504 in an amount to be proven or, in the alternative, at Plaintiff's election, an
 5
     award for statutory damages against Defendant in an amount up to $150,000.00
 6
     for each infringement pursuant to 17 U.S.C. § 504(c).
 7
           59.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
 8
     the court in its discretion may allow the recovery of full costs as well as reasonable
 9
     attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
10
           60.    As a result of Defendant's violations of Title 17 of the U.S. Code,
11
     Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
12
     copyright pursuant to 17 U.S.C. § 502.
13
                                      JURY DEMAND
14
           61.    Plaintiff hereby demands a trial of this action by jury.
15
                                  PRAYER FOR RELIEF
16
           WHEREFORE Plaintiff respectfully requests judgment as follows:
17
           That the Court enters a judgment finding that Defendant has infringed on
18
     Plaintiff's rights to the Photographs in violation of 17 U.S.C. §501 et seq. and
19
     award damages and monetary relief as follows:
20
                  a.     finding that Defendant infringed upon Plaintiff's copyright
21
                         interest in the Photographs by copying and displaying without
22
                         a license or consent;
23
                  b.     for an award of actual damages and disgorgement of all of
24
                         Defendant's profits attributable to the infringements as
25
                         provided by 17 U.S.C. § 504 in an amount to be proven or, in
26
                         the alternative, at Plaintiff's election, an award for statutory
27
                         damages against Defendant in an amount up to $150,000.00
28

                                                   8
                                        PLAINTIFF'S COMPLAINT
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 1
                     for each infringement pursuant to 17 U.S.C. § 504(c),
 2
                     whichever is larger;
 3
               c.    for an order pursuant to 17 U.S.C. § 502(a) enjoining
 4
                     Defendant from any infringing use of any of Plaintiff's works;
 5
               d.    for costs of litigation and reasonable attorney's fees against
 6
                     Defendant pursuant to 17 U.S.C. § 505;
 7
               e.    for pre judgment interest as permitted by law; and
 8
               f.    for any other relief the Court deems just and proper.
 9
10   DATED: December 13, 2021

11                                      SANDERS LAW GROUP
12
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                                        File No.: 123491
17

18                                      Attorneys for Plaintiff

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                                   PLAINTIFF'S COMPLAINT
